          Exhibit 75




Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 1 of 24
             IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
         CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW

STUDENTS FOR FAIR
ADMISSIONS, INC.,
                           Plaintiffs,
     vs.
UNIVERSITY OF NORTH
CAROLINA, et al.,
                           Defendants.



                 _______________________________
                              DEPOSITION
                                  OF
                             BARBARA POLK
    THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
 PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
   ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
             _______________________________



TAKEN AT THE OFFICES OF:
UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
222 East Cameron Avenue
110 Bynum Hall
Chapel Hill, NC 27514


                               05-19-17
                               8:30 A.M.
                    __________________________
                            Dale L. Ring
                           Court Reporter

                    Civil Court Reporting, LLC
                            P.O. Box 1146
                        Clemmons, NC 27012
                          (336) 406-7684



 Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 2 of 24
Deposition of Barbara Polk                                     Students for Fair Admissions v. UNC, et al.

   1          tell you.
   2                    Q.        All right.   So, skipping back to when
   3          you would -- when you stopped serving as interim
   4          director, what position did you serve in after
   5          that period?
   6                    A.        Senior associate director.
   7                    Q.        Is that the position that you're in
   8          today?
   9                    A.        Technically, yes.
 10                     Q.        Okay.    But have the duties changed
 11           somewhat?
 12                     A.        There's always a change in projects,
 13           responsibilities; significantly, no.
 14                          Q.    Okay.   You said technically, so I'm
 15           wondering what's the technical aspect of the ---
 16                     A.        Well, if you look at my resume, it'll
 17           tell you that I'm now the deputy director.
 18           Technically, I was deputy director at that point.
 19           I just didn't use the title.
 20                     Q.        Okay.    But the -- with respect to some
 21           sort of year-to-year transition within the office,
 22           the basic job description has remained the same?
 23                     A.        Yes.
 24                     Q.        And what is that job description?          What
 25           do you -- what do you in the office today?

Civil Court Reporting, LLC                                                                       Page: 18


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 3 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    A.    What I do today, everything that is
   2          related to evaluation of applications reports up
   3          to me.         And that's all areas of evaluation.            And
   4          then special assignments, anything else that
   5          Mr. Farmer asks me to assume responsibility for.
   6                    Q.    And does your title of deputy director
   7          essentially make you the number two person in the
   8          office?
   9                    A.    Yes.
 10                           (EXHIBIT NUMBER 2 WAS MARKED)
 11                     Q.    This is Exhibit 2.     Take a second to
 12           review this.
 13           (Witness examined document)
 14                     A.    Okay.
 15                     Q.    You had a chance to review this?
 16                     A.    Yes.
 17                     Q.    Do you recognize this document?
 18                     A.    Yes.
 19                     Q.    And what is this document?
 20                     A.    This was an organizational chart for our
 21           Office of Undergraduate Admissions from June 2015.
 22                     Q.    Okay.   Starting on sort of the first
 23           line under Mr. Farmer, there was a vacant spot in
 24           June -- June 2015 for the associate director spot
 25           to the right of, I guess, your -- your reporting

Civil Court Reporting, LLC                                                                      Page: 19


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 4 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    Q.   When you read an application for early
   2          action, you're not -- you're doing a second read?
   3                    A.   Could be a second read or it could be a
   4          third read.
   5                    Q.   Okay.   Are you doing that at any
   6          particular point in the admissions process?
   7                    A.   Yes.
   8                    Q.   And what point is that?
   9                    A.   During our decision review process.
 10                     Q.   I'm sorry, I didn't mean to interrupt.
 11                     A.   No, during our decision review process
 12           that occurs immediately before we release
 13           decisions.
 14                     Q.   Is decision review also sometimes known
 15           as school group review?
 16                     A.   Yes.
 17                     Q.   Okay.   Those terms are interchangeable?
 18                     A.   Yes.
 19                     Q.   And what is the basic purpose of
 20           decision review?
 21                     A.   To ensure that the decisions that are
 22           going out are accurate to try to eliminate any
 23           human error that may have occurred.             Also to
 24           ensure that we're not making more offers of
 25           admission than we should be, so we're not bringing

Civil Court Reporting, LLC                                                                      Page: 31


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 5 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          may be decisive in whether or not someone should
   2          be offered admission or not?
   3                    A.   There's not a situation where one factor
   4          to the exclusion of other factors.
   5                    Q.   But certainly ---
   6                    A.   Decisive.
   7                    Q.   Would you agree with me that sometimes
   8          one particular factor can be the tipping point in
   9          recommending an applicant for admission?
 10                                 MR. SCUDDER:   Objection.
 11                     A.   Yes.
 12                     Q.   (Mr. Strawbridge)     And is race sometimes
 13           that tipping point?
 14                                 MR. SCUDDER:   Object to the form.
 15                     A.   Yes.
 16                     Q.   (Mr. Strawbridge)     You mentioned earlier
 17           that before two or three years ago, you couldn't
 18           remember exactly when, the ethnic makeup of the --
 19           of the building class, the class that was being --
 20           that was accepting their offers for admissions was
 21           available to the people in the admissions office.
 22           Right?
 23                                 MR. SCUDDER:   Objection.
 24                     A.   Yes, I said it was available.
 25                     Q.   (Mr. Strawbridge)     How was it available?

Civil Court Reporting, LLC                                                                      Page: 42


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 6 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          In what forms?
   2                              MR. SCUDDER:     What time period are
   3          we talking about?
   4                    Q.   (Mr. Strawbridge)     Before two or three
   5          years ago when this change was made.
   6                    A.   If I'm understanding the question,
   7          you're referring to the Core Report?
   8                    A.   Well, yes.   And at one point you said
   9          you couldn't remember when Core Reports were
 10           available, so I don't know if the Core Report's
 11           the only in which that information was available.
 12           I'm asking what ways, Core Report or otherwise,
 13           was that information available to the people in
 14           the office?
 15                               MR. SCUDDER:     Object to the form.
 16                     A.   It would have been posted on a shared
 17           site.
 18                     Q.   (Mr. Strawbridge)     And that's a shared
 19           site that anyone could log into and check within
 20           the office?
 21                               MR. SCUDDER:     Objection.
 22                     A.   Prior to the last two to three years,
 23           yes, I believe so.
 24                     Q.   (Mr. Strawbridge)     And was that
 25           information updated on a daily basis?

Civil Court Reporting, LLC                                                                      Page: 43


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 7 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    A.   Yes.
   2                    Q.   And do you know how often that
   3          information was reviewed by people within the
   4          admissions office?
   5                    A.   No.
   6                                MR. SCUDDER:   Objection.
   7                    Q.   (Mr. Strawbridge)     Was the profile of
   8          the class that was -- as it was being, you know,
   9          admitted and people were accepting their offers,
 10           was that profiles discussed in meetings within the
 11           admissions office?
 12                                 MR. SCUDDER:   Objection.
 13                     A.   No.    We don't produce the profile during
 14           the course of the process.
 15                     Q.   (Mr. Strawbridge)     Well, when I say
 16           profile, I should -- I should correct.              I'm not
 17           referring to a specific document.            But what I'm
 18           talking about is the information that was
 19           available to anyone who logged in on the site
 20           which contained, among other things, information
 21           about the ethnic makeup of the class that had been
 22           admitted and had accepted their offers to date.
 23                     A.   At what point in time?
 24                     Q.   Two or three years ago.       Was that same
 25           information sometimes discussed at meetings is the

Civil Court Reporting, LLC                                                                      Page: 44


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 8 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    Q.   (Mr. Strawbridge)     You testified that up
   2          until two or three years ago, information about
   3          the ethnic makeup of the class as it was admitted
   4          was available to people in the admissions office.
   5                    A.   Yes.
   6                    Q.   And do you know in what form that was
   7          available?       You said you would log in to a
   8          computer, right?
   9                    A.   Correct.
 10                     Q.   And you're familiar with the Core
 11           Reports that we've talked about earlier today?
 12                     A.   Correct.
 13                     Q.   Was the information that they gave you
 14           essentially the same information that was on the
 15           Core Reports that were circulated?
 16                     A.   Correct, it was the Core Report.
 17                     Q.   Okay.   It was the same -- the same
 18           report was available to them ---
 19                     A.   Correct.
 20                     Q.   --- on line.
 21                     A.   Correct.
 22                     Q.   And then we were talking a little bit
 23           about the review that Mr. Farmer does with respect
 24           to some particular high schools during the
 25           admissions process?

Civil Court Reporting, LLC                                                                      Page: 64


             Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 9 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          about an applicant when you discuss the school
   2          group review
   3                    A.   School group review, you can -- you can
   4          discuss anything that's part of the application.
   5                    Q.   You have access to the entire
   6          application file?
   7                    A.   Yes.
   8                    Q.   Is there a summary report that's
   9          prepared for school group review?
 10                     A.   Yes, there is a report.
 11                     Q.   And today is race included on that
 12           report?
 13                     A.   No.
 14                     Q.   Was it previously?
 15                     A.   Yes.
 16                     Q.   When was that changed made?
 17                     A.   That change was made approximately -- I
 18           don't remember the exact year -- about four years
 19           ago, maybe five years ago.         I can't -- I don't
 20           remember in that ---
 21                     Q.   Do you know why that ---
 22                     A.   --- time period.
 23                     Q.   Do you know why that change was made?
 24                     A.   When we discussed it among our staff, we
 25           had a recommendation made by attorneys for the

Civil Court Reporting, LLC                                                                     Page: 136


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 10 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          Office of Civil Rights and we discussed it with
   2          legal counsel.       Decided to make that change.
   3                    Q.   Without disclosing to me any
   4          conversations that you had with legal counsel, can
   5          you share why the Department of Education made
   6          that recommendation to your understanding?
   7                    A.   I'd have to go back and talk to those
   8          attorneys at the time that made the
   9          recommendation.
 10                     Q.   And so this report for school review
 11           that used to include ethnicity ---
 12                     A.   Uh-huh (yes).
 13                     Q.   --- and now does not include
 14           ethnicity ---
 15                     A.   Uh-huh (yes).
 16                     Q.   --- do you know, is that made available
 17           to you in paper format or in electronic format?
 18                     A.   This what, this school group report ---
 19                     Q.   Correct.
 20                     A.   --- made available?     It is an electronic
 21           format which can then be printed into paper
 22           format.
 23                     Q.   Do you typically print it?
 24                     A.   It depends on the school.
 25                     Q.   You occasionally will print or sometimes

Civil Court Reporting, LLC                                                                     Page: 137


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 11 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    A.   Correct.
   2                    Q.   All right.   And so what are you
   3          referring to when you talk about "the finishing
   4          touches on the class"?
   5                    A.   It could have been any number of things.
   6          It could have been the balance between in-state
   7          and out-of-state applicants.
   8                    Q.   All right.   What else could it be?
   9                    A.   This was from 2015.     I don't -- I mean
 10           that's what comes to mind is where are we in-state
 11           versus out-of-state?
 12                     Q.   Could finishing touches mean affecting
 13           the admissions decisions was to increase or
 14           decrease the number of first-generation college
 15           students in the class?
 16                     A.   It could have been anything related to
 17           the class.       I don't know.
 18                     Q.   So it could include, you know,
 19           increasing the relative number of first-generation
 20           students in the class.
 21                     A.   What I take from this -- it was two
 22           years ago?       Hypothetically, it could have been any
 23           part of the class.
 24                     Q.   So could have been addressing any -- any
 25           feature of the class.

Civil Court Reporting, LLC                                                                     Page: 144


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 12 of 24
Deposition of Barbara Polk                                        Students for Fair Admissions v. UNC, et al.

                             1   to ---

                             2        A.     Yes.

                             3        Q.     --- review this document?

                             4        A.     Yes, I have.

                             5        Q.     Do you recognize this document?

                             6        A.     Yes.

                             7        Q.     And what is this?

                             8        A.     This is instructions -- partial

                             9   instructions, comments on school group review,

                        10       decision review as we began the process for early

                        11       action applicants applying for Fall 2014.

                        12            Q.     Okay.   And is this a document that you

                        13       authored?

                        14            A.     I believe so.

                        15            Q.     Is this typical of sort of an

                        16       instruction document that you author at the

                        17       beginning of the decision review process?

                        18            A.     That I did author.   I no longer do.

                        19            Q.     Who would be responsible for authoring

                        20       this now?

                        21            A.     Jared Rosenberg.

                        22            Q.     And this, in this case, was before the

                        23       beginning of the regular -- of the early action

                        24       decision review process?

                        25            A.     Correct.

Civil Court Reporting, LLC                                                                         Page: 160


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 13 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                         (EXHIBIT NUMBER 16 WAS MARKED)
   2          (Witness examined document)
   3                    A.   Okay.
   4                    Q.   (Mr. Strawbridge)     Had you had a chance
   5          to review this?
   6                    A.   Yes.
   7                    Q.   Okay.    Do you recognize this document?
   8                    A.   Generally, yes.
   9                    Q.   Okay.    And generally speaking, what do
 10           you recognize this document to be?
 11                     A.   I emailed myself with some information
 12           regarding the incoming applicant class for Fall
 13           2014.
 14                     Q.   Right.   And was this specifically
 15           emailed to you as part of making the wait list
 16           decisions?
 17                     A.   The subjection line is "Wait list
 18           update," so I would have -- my intuition would say
 19           it was related to what we might do with the
 20           waiting list.
 21                     Q.   And can you just describe generally to
 22           me what you do with the waiting list?             How
 23           decisions are made about when and how to admit
 24           people from the waiting list.
 25                     A.   Once we know -- well, students have

Civil Court Reporting, LLC                                                                     Page: 218


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 14 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          until May 1, first-year students, to let us know
   2          whether or not they're going to accept our offer
   3          of admission.        Once we know that, then we have an
   4          idea of how many available spaces, if any, there
   5          are in the upcoming class.         And then we will do a
   6          holistic review process to be able to offer the
   7          number -- to make the number of offers that would
   8          be appropriate for the number of available spaces
   9          assuming there are any spaces available.
 10                     Q.   Okay.   And is the information on this
 11           list information that was relevant to you in sort
 12           of analyzing where the class was as you entered
 13           the wait list decision process?
 14                     A.   It would have been information that we
 15           would have considered just prior to making
 16           decisions about the waiting list process.
 17                     Q.   And this is an email sent by you to you.
 18                     A.   Correct.
 19                     Q.   This is like a reminder to yourself as
 20           to when you need to know heading into the wait
 21           list process?
 22                     A.   Correct.
 23                     Q.   Okay.   And so did you decide what
 24           information to include here on this chart?
 25                     A.   No.   My best recollection is that I had

Civil Court Reporting, LLC                                                                     Page: 219


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 15 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          notes from a meeting with others in our office
   2          that I scribbled and I sent myself an email so
   3          that would be legible and I would remember what
   4          they were.
   5                    Q.   Okay.   So this reflects the notes that
   6          you took as to the ---
   7                    A.   That's what ---
   8                    Q.   --- information.
   9                    A.   The best of my recollection.
 10                     Q.   Okay.   Do you remember leaving anything
 11           out that you had scribbled in your notes?
 12                     A.   I have no idea.
 13                     Q.   Okay.   Do you -- looking at this today,
 14           is there other information that you typically use
 15           heading into the wait list process that isn't
 16           reflected here?
 17           (Witness examined document)
 18                     A.   There may be additional information that
 19           would be used.
 20                     Q.   Such as?
 21                     A.   In looking at this, this does not seem
 22           to reflect fee waiver applicants, first
 23           generation, college applicants.           It does have some
 24           reference to international, so yes, there may be
 25           some other elements such as those.

Civil Court Reporting, LLC                                                                     Page: 220


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 16 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1                    Q.   And how do you -- or at least how does
   2          UNC, to your understanding, go about determining
   3          whether or not a critical mass exists under that
   4          term?
   5                    A.   I don't think that we actually know.                 If
   6          the critical mass exists, I think steps are
   7          ongoing to talk with students, to talk with
   8          faculty, to get feedback from the University
   9          community as to how people feel.           But there's no
 10           concrete definition.        There's nothing that says
 11           when you get to X you will have reached critical
 12           mass.
 13                     Q.   And in your view, is this ultimately a
 14           subjective determination for the students to make
 15           as to when they feel comfortable about speaking
 16           out loud as a representative of a group?
 17                              MR. SCUDDER:      Object as to form.
 18                     A.   I think if we're talking about students'
 19           comfort level and whether they feel they're
 20           representing themselves or representing a group,
 21           only the students can tell us that.
 22                     Q.   (Mr. Strawbridge)     So do you think it's
 23           very possible that, for example, a group could
 24           have -- a particular ethnic group could constitute
 25           50 percent of the population on campus but still

Civil Court Reporting, LLC                                                                     Page: 256


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 17 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          you recall having any discussions of critical mass
   2          at UNC in any way, shape or form between 2003 and
   3          the working group on race-neutral alternatives?
   4                    A.     I don't recall one way or the other.
   5                    Q.     Is there anybody within the admissions
   6          department today who is -- who has the main
   7          responsibility with respect to determining if
   8          critical mass exists with respect to the racial
   9          groups on campus?
 10                     A.     I would say no, it's not up to the
 11           admissions office to determine whether the
 12           University has reached critical mass.
 13                     Q.     Do you know whether anyone within the
 14           University as a whole has that responsibility?
 15                     A.     I don't think any one person would have
 16           that responsibility.
 17                     Q.     Do you know whether any offices in the
 18           -- at the University undertake an effort to define
 19           or measure critical mass?
 20                     A.     I think there have been different
 21           working groups that have talked about critical
 22           mass.          I've never heard of any that has tried to
 23           define in any way other than the way in which I
 24           previously have defined it.
 25                     Q.     Do you know whether anyone who's

Civil Court Reporting, LLC                                                                     Page: 260


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 18 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          involved with the Committee on Race-Neutral
   2          Strategies is tasked with defining or measuring
   3          critical mass upon the UNC campus?
   4                    A.   No, I don't know that there's anyone on
   5          that committee that is charged with defining
   6          critical mass for the UNC campus.
   7                    Q.   And who's the chairperson of that
   8          committee?
   9                    A.   Abigail Panter.
 10                     Q.   The next note that you have here refers
 11           to the "JMU Disadvantaged quota," if I'm reading
 12           that correctly.
 13                     A.   That's the way I would read it too.
 14                     Q.   And by "JMU," do you understand that
 15           that refers to James Madison University?
 16                     A.   That would be my best guess.
 17                     Q.   Okay.   And do you know what
 18           disadvantaged quota is referring to?
 19                     A.   Right now I do not recall.
 20                     Q.   Do you know whether the Committee on
 21           Race-Neutral Strategies ever looked at any system
 22           used by James Madison University?
 23                     A.   I don't recall.
 24                     Q.   Do you know what's meant by "bring in
 25           grad schools and professional schools," which is

Civil Court Reporting, LLC                                                                     Page: 261


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 19 of 24
Deposition of Barbara Polk                                        Students for Fair Admissions v. UNC, et al.

                             1   or when will reach critical mass, but to explore

                             2   how we might go about doing that in such a way

                             3   that would allow us to maintain or increase both

                             4   diversity on campus and academic quality.

                             5        Q.    Okay.    And is it your understanding that

                             6   even if the University has obtained critical mass,

                             7   it may continue to use raise to increase diversity

                             8   on campus?

                             9                   MR. SCUDDER:    Objection.

                        10            A.    I don't know that I have -- have an

                        11       understanding of if it is ever determined that we

                        12       have received critical mass, whether that in and

                        13       of itself would cause us to no longer consider

                        14       race.

                        15            Q.    (Mr. Strawbridge)    Do you think it can

                        16       ever be determined?

                        17                       MR. SCUDDER:    Objection to the

                        18       form.   Go ahead.    You can answer.

                        19            A.    I think it would -- I think it's

                        20       difficult.   I don't -- I don't know whether it

                        21       ever could be or could not be.     I think it's --

                        22       it's a difficult question.

                        23       (Off-record comments)

                        24            Q.    Do you know roughly how long the working

                        25       group on race-neutral alternatives met?

Civil Court Reporting, LLC                                                                         Page: 272


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 20 of 24
Deposition of Barbara Polk                                      Students for Fair Admissions v. UNC, et al.

                             1        A.   We started in December of '13.          We may

                             2   have had conversations for several months, I

                             3   believe, and took a bit of a break and then came

                             4   back together.

                             5        Q.   Okay.   And do you know why you took a

                             6   bit of a break?

                             7        A.   I think we took a bit of a break based

                             8   on this case, when the University was sued.            A

                             9   chance to regroup.

                        10            Q.   And do you know how long that break was?

                        11            A.   I want to say it was several months.              I

                        12       don't -- I don't recall the exact timing.

                        13                 (EXHIBIT NUMBER 24 WAS MARKED)

                        14       (Witness examined document)

                        15            A.   Okay.   I've reviewed this document.

                        16            Q.   Do you recognize this document?

                        17            A.   Yes.

                        18            Q.   Was this information that was prepared

                        19       in advance of another meeting of the race-neutral

                        20       working group?

                        21            A.   Yes.

                        22            Q.   And do you recall this information being

                        23       distributed at that meeting?

                        24            A.   Yes.

                        25            Q.   Okay.   And was this information used to

Civil Court Reporting, LLC                                                                       Page: 273


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 21 of 24
Deposition of Barbara Polk                                        Students for Fair Admissions v. UNC, et al.

                             1   frame the discussion at the meeting of the race

                             2   working neutral group (sic)?

                             3        A.     Yes.

                             4        Q.     Or race-neutral working group, I'm

                             5   sorry.

                             6               On the fir -- on the second part of this

                             7   handout, "Questions to consider before we start,"

                             8   there's a question about "how many race-neutral

                             9   alternatives should we pursue and how many cohorts

                        10       of data do we need to analyze?"     Do you see that

                        11       language?

                        12            A.     Yes.

                        13            Q.     And did I read that correctly?

                        14            A.     Yes.

                        15            Q.     Okay.   Do you recall what the working

                        16       group determined with respect to how many race-

                        17       neutral alternatives it should pursue?

                        18            A.     I recall there being a conversation that

                        19       court orders or the direction of the Court was not

                        20       that we had to pursue every conceivable

                        21       alternative, but every reasonable alternative.                I

                        22       don't recall us ever having a number saying we're

                        23       going to pursue three or we're going to pursue

                        24       five.    I remember us talking about pursuing

                        25       possibilities that seem reasonable, to look at

Civil Court Reporting, LLC                                                                         Page: 274


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 22 of 24
Deposition of Barbara Polk                                      Students for Fair Admissions v. UNC, et al.

                             1   possibilities that other states had considered in

                             2   their areas to see if other ideas came to mind for

                             3   the group.

                             4         Q.   And there are some potential race-

                             5   neutral alternatives given in bullet point number

                             6   2 in this part of the memo.   Do you see those?

                             7         A.   Yes.

                             8         Q.   Do any of those appear to reflect the

                             9   document we looked at earlier regarding partnering

                        10       with low income schools to try to increase

                        11       enrollment by the students at those schools?

                        12             A.   I don't think there was a direct

                        13       connection between the two.   There are things

                        14       here, bullet point b), bullet point c), that could

                        15       be related to, but I don't think that was an

                        16       intentional relationship.

                        17             Q.   In fact, do you recall any discussion by

                        18       -- or work by the race-neutral -- by the working

                        19       group on race-neutral alternatives to actually

                        20       explore further this possibility of partnering

                        21       with certain high schools in low income areas?

                        22             A.   We, I think, had some conversation about

                        23       it.   I don't remember it as being a major topic of

                        24       conversation.

                        25             Q.   And what discussion do you remember

Civil Court Reporting, LLC                                                                       Page: 275


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 23 of 24
Deposition of Barbara Polk                                    Students for Fair Admissions v. UNC, et al.

   1          the committee?
   2                    A.   It was a joint presentation.         I believe
   3          Dr. Kretchmar did the initial presentation of the
   4          report and I did more of the follow-up questions.
   5                    Q.   And do you remember what the tenor of
   6          those questions were in any broad sense?
   7                               MR. SCUDDER:    Object to the form.
   8                    A.   No.   I believe the questions were
   9          possibly a little bit random about different parts
 10           of the report and what we meant, what we referred
 11           to, explanations of the report.
 12                     Q.   (Mr. Strawbridge)     And to the best of
 13           your knowledge, was the report that you presented
 14           at this meeting, you know, substantially similar
 15           to the longer draft that we looked at earlier?
 16                     A.   To the longer draft, yes.
 17                     Q.   And as part of the presentation of that
 18           report, do you know whether you discussed the zip
 19           code option with the faculty committee?
 20           report.        I don't recall the specifics that were
 21           discussed in the meeting itself.
 22                     Q.   Do you recall, sitting here today,
 23           whether or not there was any discussion of the
 24           partnership program we talked about earlier with
 25           respect to -- that we looked at the proposal to

Civil Court Reporting, LLC                                                                     Page: 300


            Case 1:14-cv-00954-LCB-JLW Document 167-9 Filed 01/18/19 Page 24 of 24
